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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION


RITA MONTESI,                        )
                                     )
            Plaintiff,               )
                                     )
v.                                   )       Case No. 2:12-cv-02399-JTF-tmp
                                     )
NATIONWIDE MUTUAL                    )
INSURANCE COMPANY,                   )
                                     )
            Defendant.               )
                                     )


     ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
          GRANTING NATIONWIDE’S MOTION FOR SUMMARY JUDGMENT


       Before    the   Court   is    the      Defendant,    Nationwide      Mutual

Insurance       Company’s   Motion    for       Summary    Judgment,   DE     #23,

regarding       Plaintiff’s    breach         of   contract    and     negligent

infliction of emotional distress claims. (DE #23).                On April 12,

2013, Plaintiff filed a response in opposition to the motion for

summary judgment to which Defendant filed a reply. (DE #29 and

DE #30)). The Court referred the motion to the Magistrate Judge

who entered a report recommending that Nationwide’s motion for

summary judgment be granted. (DE #40). Plaintiff filed a timely

objection to the report and recommendation on November 11, 2013.

(DE #42).




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       After reviewing the entire record including the Magistrate

Judge’s       report,       Defendant’s          motion      for      summary       judgment,

Plaintiff’s response to the motion and her objection to the

Magistrate’s        report,      the    Court       ADOPTS    the    Magistrate          Judge’s

report and recommendation and GRANTS the Defendant’s motion for

summary judgment regarding the breach of contract and negligent

infliction of emotional distress claims.


       The Magistrate Judge applied Alabama state law and

concluded that the jury verdict against Rita Montesi in the

underlying civil court matter1 precluded her instant claim for

breach of contract for nonpayment under the umbrella provision

of her Nationwide insurance policy.                    Finding that all four

elements of collateral estoppel or issue preclusion under

Alabama state law were satisfied in the prior lawsuit, including

the “lack of intent claim,” the Magistrate Judge determined that

Plaintiff cannot now demonstrate that Nationwide’s denial of the

insurance coverage amounts to a breach of contract. The

Magistrate also concluded that Plaintiff’s negligent infliction

of emotional distress claim is barred by Tennessee’s one year

statute of limitations.


       Plaintiff raises only one objection to the Magistrate’s

report, that summary judgment should be granted to the defendant

1
 Wilson v. Montesi, Lauderdale County, Alabama, Case No. CV-2006-505 (a/k/a the Wilson
lawsuit).

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on the breach of contract issue.          Plaintiff asserts that whether

she acted intentionally or negligently to injure the plaintiffs

involved in the Alabama lawsuit presents a material issue of

fact for the jury and thus bars summary judgment.           Plaintiff

argues that both Nationwide and the Magistrate erroneously

relied on the jury’s punitive damage award as a basis for

denying her coverage under the umbrella policy.           Plaintiff

contends that because the jury’s answers to the interrogatories

were unambiguous, it is inconclusive what behavior the jury

found intentional, willful, negligent or malicious.            (DE #42).

Finally, Plaintiff argues that Nationwide conceded that her

conduct did not arise to an act of libel or slander.            The Court

finds Plaintiff’s objections lack merit.


      Regarding the jury verdict form in the underlying case,

Plaintiff asserts the jury’s answers are ambiguous and fail to

demonstrate the intent needed to bar her claim under the

insurance policy.     The Court finds instead, the jury’s verdict

form and interrogatories used during the Alabama deliberations,

to which both parties consented, are very specific. The verdict

form provides:


                    JURY INTERROGATORY
            1. Do you find, by a preponderance of the evidence,
              that Defendant, Rita K. Montesi, defamed the
              Plaintiffs?


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               Yes _X__

               No    ____

               A. If yes, do you find that the Defendant, Rita K.
                  Montesi acted:
                 (Check all that apply.)

                    Negligently    _X__

                    Intentionally ____

                    a. Were the defamatory statements made by
                      Defendant, Rita K. Montesi, made by or with the
                      consent of Ms. Montesi and made with the
                      knowledge of their falsity?

                    Yes _√__                  No ____



(DE #23-3 and DE #23-13)). Exhibit B. The second jury verdict

form included the following interrogatories:


                    JURY INTERROGATORY

            1. Do you find that Defendant, Rita K. Montesi, is
            liable to the Plaintiffs for false light invasion of
            privacy?


                      Yes __X_

                      No    ____

                      A. If yes, do you find that the Defendant, Rita
                         K. Montesi acted:
                         (Check all that apply.)

                           Negligently       _X_

                           Recklessly        _X_

                           Intentionally _X_


                                         4
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                  1. Was such false light invasion of privacy
                    caused by the statements Defendant, Rita K.
                    Montesi, made by or with the consent of Ms.
                    MOntesi and made with knowledge of their
                    falsity?

                        Yes __X_          No ____
        It is undeniable that the jury in the Alabama proceeding

found Ms. Montesi’s behavior negligently defamed the parties.

The $50,000 punitive damage award underscores the jury’s finding

of that Plaintiff’s reckless behavior caused harm to the

plaintiffs, her nieces, in the underlying Alabama defamation

case.    Nationwide denied the coverage on the basis that Ms.

Montesi’s umbrella policy did not cover libel, slander or

defamation incidents.2      The insurance policy,       provided in the

record shows that Ms. Montesi was not covered by the libel,

slander or defamation provisions. Also, the policy did not cover

intentional acts or “personal injury caused intentionally by or

at the direction of an insured including willful acts the result

of which the insured knows or ought to know will follow from the

insured’s conduct.”


        The Court reasons that Plaintiff should have known that

publishing the advertisement or sending the advertisement to the

Alabama Courier Journal for publication on or about May 4, 2005,


2
 DE #23-6, Affidavit of Mark Ramsey, Casualty Claims Manager for Nationwide
Insurance Company; DE 23-8, Homeowner’s Policy Declarations and Other
Coverages and Liability Exclusions (Sections II) and Personal Injury Coverage
under Coverage E.

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with the understanding that it contained defamatory and

untruthful facts would undoubtedly result in personal injury to

the parties named in said advertisement.3         The insurance policy

explicitly excluded coverage of any personal injury arising out

of any libel, slander, or defamation made by an insured with

knowledge of its falsity. Plaintiff’s argument that a question

of fact remains for the jury regarding whether conduct was

intentional or negligent and what exact conduct the jury

determined was intentional or negligent has no bearing on the

ultimate determination that she was liable for negligently,

intentionally and recklessly presented the plaintiffs in that

case in a false light for which she had no coverage under the

Nationwide umbrella policy.       Ex parte Bole, 103 So.3d 40, 51

(Ala. 2012); Horne v. TGM Assocs, L.P., 56 So.3d 615, 631(Ala.

2010), quoting The American Road Service Co., v. Inmon, 394

So.2d 361, 365 (Ala. 1980).


          There is no viable breach of contract claim as the

identical issue was resolved in the “Wilson lawsuit” and

correctly deemed in the Magistrate’s report, barred by

collateral estoppel from review again in federal court.

Lightfoot v. Floyd, 667 So.2d 56, 64 (Ala. 1995).




3
    DE #23-3.

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        Accordingly, the Court adopts the Magistrate’s report and

finds Defendant’s Motion for Summary Judgment regarding the

remaining claims of breach of contract and negligent infliction

of emotional distress should be GRANTED.          The Court having

adopted the Magistrate’s report in its entirety regarding the

TCPA and bad faith statutory claims, DE #38, finds no remaining

issues and Orders the case DISMISSED with prejudice pursuant to

Fed. R. Civ. P. 56.      Because all claims are dismissed, the

Defendant’s motion to Amend or Correct, DE #39, is terminated as

MOOT.    In light of the Court’s Order Adopting the Magistrate’s

Report and Recommendation and Granting the Defendant’s Motion

for Summary Judgment, Defendant’s Motion for Leave to File a

Reply Brief, DE #43, is also terminated as MOOT.


        IT IS SO ORDERED this 18th day of November, 2013.


                                          s/John T. Fowlkes, Jr.
                                          JOHN T. FOWLKES, JR.
                                          UNITED STATES DISTRICT JUDGE




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